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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                    LONDON DIVISION

ROBERT MAY, as Administrator for the              )   Cause No. 6:09-165
Estate of Thomas May, and CHRISTOPHER             )
HALL, as Administrator for the Estate of          )
Bradley Hall and MATTHEW BENJAMIN                 )
COOLEY,                                           )
                                                  )
                       Plaintiff,                 )
                                                  )
       v.                                         )
                                                  )
FORD MOTOR COMPANY,                               )
                                                  )
                       Defendant.                 )

    DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS MOTION IN LIMINE TO
                  EXCLUDE FINANCIAL INFORMATION

       Defendant Ford Motor Company ("Ford") hereby submits this Memorandum in support of

its Motion in Limine to exclude financial information. As grounds for its motion, Ford states as

follows:

                      I. THE EVIDENCE SOUGHT TO BE EXCLUDED

       Ford anticipates that Plaintiffs will seek to introduce into evidence various and diverse

financial information relating to Ford. For instance, Plaintiffs may offer evidence based on material

published in Ford's annual reports and reports to the Securities and Exchange Commission ("SEC")

on Forms 10-K and 10-Q, including evidence of Ford's financial condition, revenues, and net worth.

In addition, Plaintiffs may attempt to offer evidence of all projected and actual profits Ford realized

on sales of the Taurus.

       None of this financial information, however, is relevant to the product liability claims in this

action. The only area of potential relevance would be a punitive damages claim. Because reference

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to Ford’s financial information may be highly inflammatory and prejudicial, Ford respectfully

requests that this Court order Plaintiffs and their counsel to refrain from making references to or

introducing evidence concerning Ford’s financial information unless and until the necessary

foundation for the recovery of punitive damages is laid under Kentucky law. See Goin v. Goin, 230

S.W.2d 896 (Ky. 1950) (where evidence was insufficient to submit issue of punitive damages to

jury, evidence of defendant’s financial worth should have been excluded).

                                     II. LEGAL ARGUMENT

       Evidence of Ford's financial condition, size, or wealth is irrelevant to the product liability

claims in this action. Plaintiffs are not entitled to present evidence regarding Ford's size, wealth, or

financial condition in an effort to elicit sympathy from the jury. As explained in Cleveland v. Peter

Kiewitz Sons' Co., 624 F.2d 749 (6th Cir. 1980), a party's financial status is generally not relevant

with respect to claims for compensatory damages:

               [I]n damage actions in which compensatory damages only are recoverable,
               evidence is not admissible, directly or indirectly, to show the wealth or
               financial standing of either the Plaintiffs or defendant, except in those
               exceptional cases, such as actions for defamation or injury to reputation
               where the position or wealth of the parties is necessarily involved in
               determining the damages sustained.


Id. at 757); cf. Malone v. Microdyne Corp., 26 F.3d 471, 480 (4th Cir. 1994) (finding that prejudice

of admitting Form 10-K in securities case significantly outweighed any "dubious" probative value

of the financial statement).

       Courts have generally recognized that, to avoid unfair passion and prejudice to a defendant

and to prevent improper argument regarding the comparative wealth of a defendant, evidence of a

defendant's financial condition should be excluded. See, e.g., Adams Lab., Inc. v. Jacobs Eng'g Co.,

761 F.2d 1218, 1226 (7th Cir. 1985) (appealing to the sympathy of the jurors through references to
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the wealth of the defendants in contrast to the relative poverty of the plaintiffs is totally improper

and cause for reversal). A cardinal principle of American jurisprudence is that "the rich and poor

stand alike in courts of justice, and that neither the wealth of one nor the poverty of the other shall

be permitted to affect the administration of the law." Kiewitz, 624 F.2d at 757. "As a general rule,

it is error to admit evidence of a party's financial condition unless necessary to determine damages

sustained."   Whiteley v. OKC Corp., 719 F.2d 1051, 1055 (10th Cir. 1983).              Thus, financial

information, if admissible at all, would be relevant only to the issue of punitive damages. See, e.g.,

Robertson Oil Co. v. Phillips Petroleum Co., 14 F.3d 373, 380 (8th Cir. 1993), cert. denied 511

U.S. 1115 (1994) (finding financial information relevant on the issue of punitive damages). Even if

Plaintiffs are able to lay the necessary foundation for punitive damages, evidence of Ford’s wealth,

size, or financial condition should play no part in the jury’s determination of the amount of punitive

damages, as the Kentucky Supreme Court asserted in Sand Hill Energy v. Smith, 142 S.W.3d 153,

159 (Ky. 2004) (citing Hensley v. Paul Miller Ford, Inc., 508 S.W.2d 759, 764 (Ky. 1974)).

       Similarly, any statements regarding the alleged creation of reserve funds or estimates of

legal claims asserted against Ford should be excluded. First of all, such information is prejudicial

because, in part, it emphasizes the size and wealth of Ford. Moreover, this type of information,

including the alleged existence of a reserve relating to litigation, is not relevant. Estimating and/or

disclosing potential claims or contingent liabilities, no matter how remote, is standard business

practice which is sometimes required by law. Given these circumstances, establishing a reserve or

disclosing potential claims or contingent liabilities is not an admission of liability. See, e.g., Rhone-

Poulenc Rorer, Inc. v. Home Indem. Co., 139 F.R.D. 609, 613-15 (E.D. Penn. 1991) (denying

discovery of documents relating to insurance company’s reserves for contingent claims); Taxel v.

Equity Gen. Ins. Co. (In re Couch), 80 B.R. 512, 516-17 (S.D. Calif. 1987) (same); Independent
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Petrochemical Corp., 117 F.R.D. 283, 288 (D.D.C. 1986) (same). Such financial practices do not

indicate that Ford admits fault or believes that it will eventually pay any or all of those claims. Vast

sums of money may be claimed in frivolous lawsuits. The information is not probative of any

material issue in this litigation, and should be excluded under FRE 401.

       The only possible use, therefore, for such evidence would be to inflame the jury, and to

attempt to either unfairly expand Plaintiffs’ recovery, if any. Even if somehow relevant to the

claims against Ford, which Ford denies, the evidence is inadmissible under Federal Rule of

Evidence 403. Accordingly, this Court should not allow Plaintiffs to refer in any way to the wealth,

size, or financial condition of Ford, or to Plaintiffs’ own lack of wealth or financial capacity. See

Thunderbird, Ltd. v. First Fed. Sav. & Loan of Jacksonville, 908 F.2d 787, 791 n.3, item 4 (11th

Cir. 1990) (granting motions in limine to exclude all references to defendants' wealth or financial

capacity). Nor should Plaintiffs be permitted to make any other use of Ford's financial statements

during the trial. Such evidence is irrelevant and, more importantly, inflammatory and prejudicial.

                                         III. CONCLUSION

       For the foregoing reasons, Defendant Ford Motor Company respectfully requests that this

Court enter an Order in Limine excluding all information pertaining to Ford's financial condition

and the financial condition of the Plaintiffs.


                                                 FROST BROWN TODD LLC

                                                 By: /s/ Kevin C. Schiferl
                                                   Kevin C. Schiferl
                                                   Attorneys for Defendant FORD MOTOR
                                                   COMPANY



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                                        CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to the following parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.

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